                                                                U.S. DIS RJCT COU T
      Case 4:18-cr-00239-A Document 35 Filed 10/12/18     Page 1 of 1 DISTRICT
                                                            NORTHERN   PageID 99OF TEXAS
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                   IN THE UNITED STATES DISTRICT OURT
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                        NORTHERN DISTRICT OF TEXA
                            FORT WORTH DIVISION
                                                   CLERK, U.S. DISTRJCT COURT
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UNITED STATES OF AMERICA                  §
                                          §
vs.                                       §     NO. 4:18-CR-239-A
                                          §
BOBBY CAMPBELL, ET AL.                    §



                                        ORDER

       Came on for consideration the motion of defendant Bobby

Campbell ("Campbell") for continuance. The court, having

considered the motion, the response of United States, the record,

and applicable authorities, finds that the motion should be

denied. Campbell may seek leave to file any additional pretrial

motions necessitated by the government's recent production of

discovery should they be appropriate.

       The court ORDERS that Campbell's motion for continuance be,

and is hereby, denied.

       SIGNED October 12,




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